                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                    )
                                                      )
 v.                                                   )           No. 3:06-CR-136
                                                      )           (PHILLIPS/SHIRLEY)
 TIMOTHY LOVEDAY,                                     )
                                                      )
                        Defendant.                    )


                                  MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the district

 court as may be appropriate. This cause came before the undersigned on December 20, 2006, for

 a hearing on Defendant’s Motion for Detention Hearing [Doc. 83]. Special Assistant United States

 Attorney Brownlow Marsh was present representing the government. Attorney Dennis Francis was

 present representing Timothy Loveday, who was also present.

                Counsel for the defendant stated that because of outstanding state warrants, the

 defendant wished to waive his right to a detention hearing at this time and reserve the right to have

 a hearing at a later date, if appropriate. The government stated no objections. Pursuant to the

 defendant signing a Waiver of Detention Hearing [Doc. 89], the defendant is to be detained. 18

 U.S.C. § 3142(f)(2)(B). The defendant was present and stated that he knew he would remain in jail

 pending trial. For good cause, and by agreement of the defendant, this detention hearing is waived,

 and the defendant is detained.

                The defendant is aware of his rights to a prompt detention hearing and to require the

                                                  1


Case 3:06-cr-00136-TWP-CCS            Document 92         Filed 12/21/06     Page 1 of 2      PageID
                                            #: 26
 government to meet its burden of proving that no conditions of release exist which will reasonably

 assure his appearance in court and the safety of the community. The defendant knows that if his

 detention hearing is waived he will remain in custody while it is

 continued. The defendant acknowledged in open court that he understands his rights and the

 consequences of waiving his detention hearing. For good cause shown, the defendant’s request not

 to contest, and to waive the detention hearing is hereby GRANTED. Accordingly, Defendant’s

 Motion for Detention Hearing [Doc. 83] is DENIED.

                It is therefore ORDERED that:

                (1) Defendant’s Waiver of Detention hearing is GRANTED;

                (2) Defendant’s Motion for Detention Hearing [Doc. 83] is DENIED;

                (3) Defendant be committed to the custody of U.S. Marshall’s
                Service;

                (4)Defendant be afforded reasonable opportunity for private
                consultation with counsel; and

                (5) On order of a court of the United States or on request of an
                attorney for the government, the person in charge of the corrections
                facility in which the defendant is confined is to deliver the defendant
                to a United States marshal for the purpose of an appearance in
                connection with any court proceeding; and

                (6) Defendant has reserved the right to move for a detention hearing
                at a later date.

                IT IS SO ORDERED.
                                               ENTER:

                                                  s/ C. Clifford Shirley, Jr.
                                                United States Magistrate Judge




                                                  2


Case 3:06-cr-00136-TWP-CCS            Document 92         Filed 12/21/06      Page 2 of 2   PageID
                                            #: 27
